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 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                        )
                                                       )
 9                           Plaintiff,                )
                                                       )
10               v.                                    )         2:11-CR-048-JCM (CWH)
                                                       )
11    DANYA MAYCOTTE,                                  )
                                                       )
12                           Defendant.                )

13                                        ORDER OF FORFEITURE

14               This Court found on February 3, 2012, that DANYA MAYCOTTE shall pay a criminal

15    forfeiture money judgment of $44,400.00 in United States Currency, pursuant to Fed. R. Crim. P.

16    32.2(b)(1) and (2); Title 21, United States Code, Section 841(a)(1) and 846; and Title 21, United

17    States Code, Section 853(a)(1) and (p). Docket #170.

18               THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

19    States recover from DANYA MAYCOTTE a criminal forfeiture money judgment in the amount of

20    $44,400.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B);Title 21,

21    United States Code, Section 841(a)(1) and 846; and Title 21, United States Code, Section 853(a)(1)

22    and (p).

23               DATED this ______
                        March  23, day of __________________, 2012.
                                   2012.
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25
                                                  UNITED STATES DISTRICT JUDGE
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